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 1                                 UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
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 4
      UNITED STATES OF AMERICA,                                     2:05-cr-123-RLH-LRL
 5                                                                  2:04-cr-246-RLH-LRL
                             Plaintiff,
 6
      vs.                                                        ORDER FOR PLACEMENT IN
 7                                                               THE HALF-WAY HOUSE
      TAMIKA IVEY,
 8
                             Defendant.
 9
10                  Presently before the Court is the matter of United States v. Arlanders Gibson. et

11   al., in particular, defendant TAMIKA IVEY.

12                  On June 21, 2012, this Court held a hearing for revocation of supervised release as

13   to defendant TAMIKA IVEY. The Government and the U. S. Probation Office request that Ms. Ivey

14   be permitted to reside in the residential re-entry center / halfway house for six (6) months.

15                  Accordingly,

16                  IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant

17   TAMIKA IVEY reside in a residential re-entry center / half-way house for six (6) months.

18
19                  DATED: This 21st day of June , 2012.

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